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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

TRUSTEES OF BOSTON COLLEGE,                            )
         Plaintiff,                                    )
                                                       )
v.                                                     )    Case No. 4:24-cv-1523 HEA
                                                       )
URSHAN UNIVERSITY, INC.                                )
                                                       )
               Defendant.                              )

                      OPINION, MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiff’s Motion for Preliminary

Injunction, [Doc. No. 12]. Defendant opposes the Motion. For the reasons set forth

below, the Motion is granted.

                                   Facts and Background 1

        The Complaint alleges the following facts: according to Plaintiff, this is a

breach of contract action involving a mutual gift agreement between Plaintiff and

Defendant concerning the transfer of thirteen stained glass windows located in the

chapel of the former St. Stanislaus Seminary campus (“the property”) in St. Louis

County, Missouri. Defendant is the current owner of the campus. The Complaint




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 The recitation of facts is set forth for the purposes of this Opinion only. It in no way relieves the
parties of the necessary proof thereof in later proceedings.
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alleges that under the agreement, Defendant was obligated to transfer the windows

to Plaintiff and to exclude the windows from any sale of the property.

      On September 9, 2024, the parties entered into the written Agreement. Under

its terms, Defendant agreed to transfer the Windows to Plaintiff in October 2024.

Defendant further agreed to exclude the Windows from any sale of the property

and to take reasonable steps to facilitate Plaintiff’s acquisition of the Windows.

Defendant expressly represented that it had full title to the Property, free and clear

of encumbrances. It also agreed to obtain any permits necessary to remove the

Windows.

      In exchange for the Windows, Plaintiff agreed to donate $27,000 to

Defendant. It also agreed to engage non-party Emil Frei and Associates (“Frei”), a

St. Louis company specializing in the restoration and preservation of stained glass,

to remove the Windows and to cover the openings in the Chapel walls that would

be left behind.

      Plaintiff alleges the fair market value of the Windows substantially exceeds

$75,000. Plaintiff insisted on negotiating a below-market price for the Windows

that reflected (1) Defendant’s desire to liquidate assets quickly, (2) the substantial

risk inherent in removing and transporting antique stained glass, and (3) the

expenses involved in removing and transporting the Windows to Massachusetts.

Actual and projected expenses considerations included: a. Approximately $2,300 in


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legal fees for negotiating a contract with Frei to remove the windows; b. Paying

Frei tens of thousands of dollars in connection with the removal and preservation

of the Windows; c. Thousands of additional dollars in fees to restore, preserve,

transport, install them safely and securely in Massachusetts.

      On September 9, 2024, Defendant, through its Chief Financial Officer Frank

Buchanan, II, executed a Bill of Transfer by which Defendant “grant[ed],

transfer[red], set over and convey[ed] to [Boston College] all right, title, and

interest in and to the Windows.”

      After the Agreement was executed, Plaintiff expended substantial time and

resources to prepare to transfer the Windows to Massachusetts, all in reliance

on Defendant’s representations under the Agreement. These expenses totaled over

twenty thousand dollars.

      On September 23, 2024, Boston College Vice President Fr. Casey Beaumier

emailed Urshan’s Chief Financial Officer, Frank Buchanan, II, to confirm that Frei

and agents of Boston College would visit Defendant’s campus the following week

to measure the Windows and prepare them for removal. Three days later, on

September 26, 2024, Mr. Buchanan announced via email, that he intended to

“rescind . . . the agreement for the [Windows].”

      When Plaintiff informed Mr. Buchanan that it intended to enforce the




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Agreement, Urshan President Brent Coltharp explained that a developer, non-party

AJE and its president Steven Stogel, had proposed to purchase the Property,

including the Windows.

      Plaintiff alleges Defendant has refused to allow Plaintiff to remove the

Windows from the Property. AJE has acknowledged, through counsel, that it does

not intend the redevelopment of the Property to maintain the Windows’ use for

religious purposes.

      Defendant allegedly continues to deny Frei and Plaintiff access to the

Property to remove the Windows. Defendant denies there is an enforceable

agreement between the parties. It admits it owns the property and admits the

windows are unique to the property.

      Defendant challenges the Court’s diversity jurisdiction, arguing the amount

in controversy does not exceed $75,000. Further, it claims the case cannot proceed

since an alleged Trustee under two deeds of trust, United Pentecostal Church

Development Fund, Inc. (“the Fund”), is not a party to this action.

                                    Legal Standard

      The Plaintiff seeks a preliminary injunction pursuant to Rule 65 of the

Federal Rules of Civil Procedure. The primary purpose of a preliminary injunction

is to preserve the status quo until a court can grant full, effective relief upon a final

hearing. Ferry-Morse Seed Co. v. Food Corn, Inc., 729 F.2d 589, 593 (8th Cir.


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1984). A preliminary injunction is an extraordinary remedy, with the burden of

establishing the necessity of a preliminary injunction placed on the movant.

Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003). When deciding whether to

grant a preliminary injunction, the Court “considers four factors: ‘(1) the threat of

irreparable harm to the movant; (2) the state of the balance between this harm and

the injury that granting the injunction will inflict on other parties litigant; (3) the

probability that the movant will succeed on the merits; and (4) the public interest.’”

CEZ Prior, LLC v. 755 N Prior Ave. LLC, No. 24-1389, 2025 WL 287795, at *2

(8th Cir. Jan. 24, 2025), (quoting Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d

109, 113 (8th Cir. 1981) (en banc)).

                                       Discussion

Amount in Controversy

      Defendant argues the Court lacks subject matter jurisdiction. Defendant

contends Plaintiff has failed to establish the amount in controversy exceeds

$75,000.00, a necessary requirement of 28 U.S.C. § 1332.

      “Diversity jurisdiction requires an amount in controversy greater than

$75,000 and complete diversity of citizenship among the litigants.” Jet Midwest

Int'l Co., Ltd v. Jet Midwest Grp., LLC, 932 F.3d 1102, 1104 (8th Cir. 2019)

(citation and internal quotations omitted). The party seeking diversity jurisdiction

has the burden to establish the amount in controversy requirement. Bank of


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America v. Pennington-Thurman, No. 4:15-CV-381 RLW, 2015 WL 5518728, at *1

(E.D. Mo. Sept. 17, 2015).

      To meet its burden regarding the amount in controversy, the removing party

“must prove by a preponderance of the evidence that the amount in controversy

exceeds $75,000.” Jackson County, Missouri v. Trinity Indus., Inc., No. 16-CV-

0004-W-FJG, 2016 WL 10650701, at *2 (W.D. Mo. Feb. 29, 2016). “To satisfy the

preponderance of the evidence standard, the party seeking removal must offer

‘some specific facts or evidence demonstrating that the jurisdictional amount has

been met.’ ” Id. (citation omitted).

      There is no dispute that complete diversity of citizenship exists in this case.

Therefore, the only question before the Court at this time is whether the amount in

controversy is over $75,000.

      “In actions seeking declaratory or injunctive relief, it is well established that

the amount in controversy is measured by the value of the object of the litigation.”

Hunt v. Washington State Apple Advert. Comm'n, 432 U.S. 333, 347 (1977).

      “‘[T]he amount in controversy is measured by the value to the plaintiff of

the right sought to be enforced.’ Federated Mut. Ins. Co. v. Moody Station &

Grocery, 821 F.3d 973, 977 (8th Cir. 2016) (quoting Schubert v. Auto Owners Ins.

Co., 649 F.3d 817, 821 (8th Cir. 2011) ). This value is assessed at the time of filing




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the action. Scottsdale, 620 F.3d at 931.” Am. Fam. Mut. Ins. Co. v. Vein Centers for

Excellence, Inc., 912 F.3d 1076, 1081 (8th Cir. 2019).

        In this case, Plaintiff requests specific performance of the agreement

between the parties for the transfer of historic stained-glass windows depicting the

history of the Jesuits. Defendant argues the amount must be measured by the

consideration agreed upon by the parties, i.e., $27,000. Plaintiff contends under the

circumstances of this this case, the agreed upon price is not the salient number but

rather the value of the windows to Plaintiff, urging the exception to the general

rule.

        The general rule in Missouri requires that the parties show a property's

market value, Peterson v. Cont' Boiler Works, Inc., 783 S.W.2d 896, 900 (Mo.

1990), as the measure of damages. Leonard Missionary Baptist Church v. Sears,

Roebuck and Co., 42 S.W.3d 833, 836 (Mo.App. E.D.2001). However, there is an

exception to the general rule of fair market value for certain categories of property

that are not bought and sold on the open market. Id. at 837. For certain categories

of property, termed “special purpose property,” such as the property of nonprofit,

charitable, or religious organizations, there will not generally be an active market

from which the diminution in market value may be determined. Id. at 836. This is

true of such properties as school yards, church yards, college campuses, buildings

under construction, and cemeteries. Id; Diggins Baptist Church v. Church Mut. Ins.


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Co., No. 12-4130-CV-S-AGF, 2013 WL 12142649, at *1 (W.D. Mo. Aug. 30,

2013) Twin Chimneys Homeowners Ass'n v. J.E. Jones Const. Co., 168 S.W.3d 488,

503 (Mo. Ct. App. 2005). In current matter, it is clear that the windows fall within

the excepted types of items not subject to the fair market value analysis. Clearly,

there is no open market for antique religious stained-glass windows which would

give rise to a fair market value assessment. Here, Plaintiff has set out sufficient

claims of the value of the windows to Plaintiff.

Mortgage Holder Necessary Party

      Defendant Urshan urges dismissal for failure to join a necessary party or

order the missing party joined in this action. According to Defendant, The United

Pentecostal Church Development Fund, Inc. d/b/a Church Loan Fund, (“Fund”),

holds a mortgage on the property and has advised it does not consent to the

removal of the windows because it would impair its collateralization for the loan to

Urshan.

      On March 17, 2025, the Court granted the Fund’s Motion to Intervene.

Accordingly, Defendant’s argument has been rendered moot.

Likelihood of Success on the Merits

      The likelihood of success is the most important factor. Roudachevski v. All-

Am. Care Centers, Inc., 648 F.3d 701, 706 (8th Cir. 2011). This factor directs

courts to ask whether the party requesting a preliminary injunction has a “fair


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chance of prevailing.” Planned Parenthood Minnesota, N. Dakota, S. Dakota v.

Rounds, 530 F.3d 724, 732 (8th Cir. 2008) (en banc).

        Plaintiff’s Complaint 2 alleges Defendant breached the Agreement between

Plaintiff and Defendant for the Windows. It claims Defendant accepted its offer to

give Urshan $27,000 in return for Urshan giving Plaintiff the Windows in question.

Urshan counters that it was going to gift the Windows to Plaintiff and Plaintiff was

going to give Urshan a gift of $27,000. Urshan further argues that it could rescind

its gift of the Windows any time before that actual transfer of the Windows, and

that it notified Plaintiff that the gift had been revoked.

        The three essential elements of a valid contract are offer, acceptance, and

bargained for consideration. Baker v. Bristol Care, Inc., 450 S.W.3d 770, 774 (Mo.

2014). “Consideration consists either of a promise (to do or refrain from doing

something) or the transfer or giving up of something of value to the other party.”

Bridgecrest Acceptance Corp. v. Donaldson, 648 S.W.3d 745, 752 (Mo. 2022), as

modified (Aug. 30, 2022).

        The record before the Court establishes that on September 9, 2024, Plaintiff

sent an email to Urshan’s Chief Financial Officer Frank Buchanan, II wherein the




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 On March 21, 2025, Plaintiff filed a Motion to File an Amended Complaint. Defendant has not
yet responded to the Motion as the time for which has not yet expired. The Proposed Amended
Complaint contains a Count for Breach of Contract. Both the Complaint and the Proposed
Amended Complaint contain Counts for Breach of Contract.
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terms of the Agreement were set out. Emil Frei and Associates Company would

remove 12 large arched stained-glass windows and the large rose stained-glass

window located in the Chapel on Urshan’s campus. Boston Collage would take

title to the Windows in consideration of the donation to Urshan in the amount of

$27,000. Urshan agreed to cooperate with Boston College and Frei in connection

with the removal. Mr. Buchanan agreed and accepted the Agreement. He also

executed a “Bill of Transfer” on September 9, 2024, wherein Urshan University

transferred all of Urshan University’s right, title and interest in and to certain

windows that are a part of the St. Stanislaus Chapel on Urshan’s property.

      On September 26, 2024, Mr. Buchanan sent an email wherein he informed

Fr. Beaumier that Urshan University “must rescind the bill of transfer and

agreement for the stained-glass windows.” Mr. Buchanan stated in his email that he

had learned a buyer has been found who planned on restoring and preserving the

school, including the windows.

      Based on the record before the Court at this time, it appears Plaintiff is likely

to succeed on the merits of its breach of contract claim. There appears to be an

enforceable contract since the essential elements of a contract exist: offer-Boston

College offers to remove and restore the stained-glass windows, Urshan’s

acceptance of the offer, and consideration-$12,000 from Boston College in

exchange for the windows. Urshan “rescinded” the transfer and Agreement. Boston


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College incurred expenses and did not receive the benefit of its bargain, i.e. the

Windows. This factor favors an injunction

Irreparable Harm

      “An irreparable harm occurs when “a party has no adequate remedy at law.”

Sleep No. Corp. [v. Young], 33 F.4th [1012,] 1018 [(8th Cir. 2022)]. To establish the

threat of irreparable harm, a party ‘must show harm that is certain and great and of

such imminence that there is a clear and present need for equitable relief.’ Cigna

Corp. v. Bricker, 103 F.4th 1336, 1346 (8th Cir. 2024).” United States v. Iowa, 126

F.4th 1334, 1352 (8th Cir. 2025). To demonstrate a sufficient threat of irreparable

harm, the moving party must show that there is no adequate remedy at law; that is,

that an award of damages cannot compensate the movant for the harm. KC

Processing Co., LLC v. Marshall, No. 4:25-CV-00059-DGK, 2025 WL 333805, at

*1 (W.D. Mo. Jan. 29, 2025).

      Plaintiff argues it is suffering, and will continue to suffer, irreparable harm

without a preliminary injunction requiring the removal of the windows from the

chapel. Defendant recognizes the continuing harm that is occurring to the windows

through deterioration over the years. Defendant suggests; however this can be

remedied through less intrusive preservation methods.

      The Windows are undisputably unique. Indeed, the unique and historic

nature of the Window is recognized in Defendant’s reason for “rescinding” the


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Agreement with Plaintiff. Moreover, both parties recognize the current state of the

Windows is fragile and at risk of further deterioration, possibly being broken or

becoming irreparable. Because of this, money damages cannot accurately

compensate Plaintiff for the loss of the Windows themselves based on their

uniqueness. This injunction factor favors Plaintiff.

Balance of the Harms

      The balance between Plaintiff’s harm and the injury that granting the

injunction will inflict on other parties and the public interest. Must also be

analyzed. Kroupa v. Nielsen, 731 F.3d 813, 818 (8th Cir. 2013); see also

Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en banc)).

The inquiry is “whether the balance of equities so favors the movant that justice

requires the court to intervene to preserve the status quo until the merits are

determined.” Dataphase Systems, Inc., 640 F.2d at 113; LaBelle Dairy, LLC, v.

Sharpe Holdings, Inc. No. 2:25-CV-14 HEA, 2025 WL 900572, at *4 (E.D. Mo.

Mar. 25, 2025).

      Plaintiff’s urged injunction, requiring removal of the Windows and storing

them somewhere other than the Chapel, does not maintain the status quo. Plaintiff

says nothing about what effect removal of the Windows will have on the integrity

of the Chapel after removal nor how the Windows can be replaced in the Chapel if

Plaintiff is not successful. Currently, the Windows are secured in the Chapel, albeit


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in a fragile state. Maintaining the status quo requires the Windows to remain in the

Chapel with steps taken to secure them from further deterioration.

      Maintaining the current status quo with protective measures taken to prevent

further damage to the Windows favors Plaintiff and causes minimal harm to

Defendant.

      Lastly, the public interest favors injunctive relief. The current state of the

Windows is that they are in jeopardy of being destroyed through deterioration,

vandals, water, etc. the public has an interest in preserving historically significant

buildings and art. Requiring protection of the Windows ensures the Windows will

be preserved. Moreover, the public has an interest in enforcing arms-length

transactions.

                                     Conclusion

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff 's motion for a preliminary

injunction against Defendant Urshan, [Doc. No. 12], is GRANTED.

      IT IS FURTHER ORDERED Defendant shall, within 21 days from the

date of this Opinion, Memorandum and Order, secure the Windows from water,

vandalism and further deterioration as contemplated by Defendant’s response to

the Motion for Preliminary Injunction.




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         IT IS FURTHER ORDERED that Defendant Urshan is prohibited from

taking any action to sell or otherwise divest itself of any ownership interest it has

in the property during the pendency of this matter.

         IT IS FURTHER ORDERED that Plaintiff shall post security in the

amount of One Hundred Thousand Dollars ($100,000) with the Clerk of the Court

by April 18, 2025, in cash or through a Court-approved surety. See Fed. R. Civ. P.

65(c).

         Dated this 10th day of April, 2025.




                                  ________________________________
                                     HENRY EDWARD AUTREY
                                  UNITED STATES DISTRICT JUDGE




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